             Case 4:21-cv-05068-TOR                  ECF No. 15          filed 11/16/21     PageID.73 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington


                   VERNIE L. CARLSON,                                )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:21-CV-5068-TOR
                                                                     )
    BNSF RAILWAY COMPANY, a Delaware Corp.,                          )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ joint motion, this action is DISMISSED with prejudice, each party to
u
              bear its own costs.




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              THOMAS O. RICE                                                 on the parties' Joint Motion for
                                                                                               Dismissal (ECF No. 13).



Date: November 16, 2021                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                              s/ B. Fortenberry
                                                                                           %\ Deputy Clerk

                                                                               B. Fortenberry
